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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                           x
                                           : Case No. 22-20390-Civ-Scola
  Annette Barnes, on behalf of herself and :
  others similarly situated,               :
                                           :
                             Plaintiff,    : NOTICE OF DISMISSAL
                                           :
        vs.
                                           :
                                           :
  Atlantic Recovery Solutions, LLC,        :
  Zachariah Aga, and Neno Nastevski,       :
                                           :
                      Defendants.          :
                                           :
                                           x
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Annette Barnes

  voluntarily dismisses this matter with prejudice as to Ms. Barnes, and without

  prejudice as to putative class members.


        Date: August 4, 2022            /s/ Aaron D. Radbil
                                        Aaron D. Radbil
                                        Greenwald Davidson Radbil PLLC
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                           CERTIFICATE OF SERVICE

        I certify that, on August 4, 2022, I emailed the foregoing document to

  Defendants representatives at the following email addresses:

        Neno Nastevski
        nnastevski@atlanticrecoverysolutions.com

        Zach Aga
        zaga@atlanticrecoverysolutions.com

        I additionally certify that, on July 25, 2022, I mailed a copy of the foregoing

  document, by U.S. Mail, to:

        Atlantic Recovery Solutions, LLC
        33 Dodge Rd., Ste. 108
        Getzville, NY 14068

                                        /s/ Aaron D. Radbil
                                        Aaron D. Radbil




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